     Case 2:95-cr-81146-PJD ECF No. 705, PageID.314 Filed 07/08/05 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


CHRISTOPHER A. ALLEN, JR.,

          Petitioner-Defendant,

v.                                                     Crim. No. 99-CV-74295-DT
                                                       Civil No. 95-CR-81146-DT-01
UNITED STATES OF AMERICA,
                                                       Honorable Patrick J. Duggan
          Respondent-Plaintiff.
                                        /


                      OPINION AND ORDER
TRANSFERRING PETITIONER’S MOTION FOR RELIEF FROM JUDGMENT
PURSUANT TO FED. R. CIV. P. 60(b)(6) TO THE UNITED STATES COURT OF
               APPEALS FOR THE SIXTH CIRCUIT

                         At a session of said Court, held in the U.S.
                           District Courthouse, Eastern District
                               of Michigan, on July 8, 2005.

          PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                             U.S. DISTRICT COURT JUDGE

       This matter is currently before the Court on Petitioner’s Motion for Relief from

Judgment pursuant to FED. R. CIV. P. 60(b), filed April 15, 2005. For the reasons set forth

below, Petitioner’s Motion shall be denied.

I.     Background

       Christopher A. Allen, Jr. (“Petitioner”)is presently confined at the Federal Medical

Center in Lexington, Kentucy. In December 1995, Petitioner was one of twenty-one

defendants indicted by a grand jury in the Eastern District of Michigan on charges of
  Case 2:95-cr-81146-PJD ECF No. 705, PageID.315 Filed 07/08/05 Page 2 of 5




violating the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §

1962(d), conspiracy to distribute marijuana and cocaine, 21 U.S.C. § 846, violating the

Travel Act relating to drug sales in Ohio, 18 U.S.C. § 1952, and using a telephone facility

to facilitate the drug conspiracy, 21 U.S.C. § 843(b). On September 27, 1996 a jury found

Petitioner guilty of the offenses listed above. On July 23, 1997, Petitioner was sentenced to

360 months on the RICO and drug conspiracy counts, 240 months on the Travel Act

violation, and 48 months on the telephone counts.

     On July 28, 1997, Petitioner filed a claim of appeal. The sole issue Petitioner raised

on appeal was that he was denied a fair trial when the government introduced testimony

concerning a rape which occurred during the commission of an armed robbery charged

against a codefendant, in which Petitioner had not participated. On March 15, 1999, the

Sixth Circuit affirmed Petitioner’s convictions.

     On September 16, 1999, Petitioner filed a motion seeking to set aside his conviction

pursuant to 28 U.S.C. § 2255, contending that counsel was ineffective in failing to raise the

following issues on direct appeal: 1) that the proper statutory maximum for the conspiracy

to distribute marijuana and cocaine and the Travel Act violation is five years for each, and

therefore, his sentence of 360 months on the conspiracy count and 240 months on the Travel

Act violation is unconstitutional; 2) that the two-level enhancement that Petitioner was

assessed for possession of a firearm during the commission of a drug offense was incorrect;

3) that the government failed to establish the effect that the RICO “enterprise” had on

interstate commerce; and 4) that the government failed to prove an enterprise separate from

the pattern of racketeering. On October 13, 1999, Petitioner filed a motion to amend his

                                             2
      Case 2:95-cr-81146-PJD ECF No. 705, PageID.316 Filed 07/08/05 Page 3 of 5




petition to add two additional issues: 1) that his sentences of 360 months on the RICO

convictions exceeded the statutory maximum allowable sentence; and 2) that there was en

error in the drug calculations used to set his sentencing guideline range.

        On March 31, 2000, this Court entered an order granting in part and denying in part the

original petition; the petition reduced the sentence on the drug conspiracy and Travel Act

convictions to five years each.

        On April 18, 2000, Petitioner filed a motion to alter of amend judgment in which he

noted that the Court’s Opinion and Order of March 31, 2000 did not address the issues raised

in his amended petition. On October 10, 2000, this Court denied Petitioner’s motion to

amend his petition.

        On December 11, 2000 defendant filed a notice of appeal and an application for a

certificate of appealability, which was granted on January 24, 2001. On November 5, 2003,

the Sixth Circuit affirmed this Court’s denial of Petitioner’s § 2255 motion.

II.     Applicable Law and Analysis

        Petitioner seeks relief from this Court’s Order of March 31, 2000, which dismissed

Petitioner’s § 2255 motion. Petitioner contends that this Court should grant his Motion

pursuant to FED. R. CIV. P. 60(b)(5) and (6). Rule 60(b) provides, in pertinent part:

        On motion and upon such terms as are just, the court may relieve a party or a
        party’s legal representative from final judgment, order, or proceeding for the
        following reasons: . . . (5) the judgment has been satisfied, released, or
        discharged, or a prior judgment upon which it is based has been reversed or
        otherwise vacated, or it is no longer equitable that the judgment should have
        prospective application; or (6) any other reason justifying relief from the
        operation of judgment.

FED. R. CIV. P. 60(b).

                                                3
   Case 2:95-cr-81146-PJD ECF No. 705, PageID.317 Filed 07/08/05 Page 4 of 5




      At issue is whether FED. R. CIV. P. 60 is available to Petitioner where he has already

made an unsuccessful § 2255 motion or whether Petitioner’s motion must be treated as a

request for authority to file a second or successive § 2255 motion. As the Sixth Circuit set

forth in Abdur’Rahman v. Bell, 392 F.3d 174 (6th Cir. 2004), where “‘the motion’s factual

predicate deals primarily with some irregularity or procedural defect in the procurement of

the judgment denying habeas relief,’ then it should be treated within the usual standards

governing Rule 60(b) relief.” Smith v. Anderson, 402 F.3d 718, 723 (6th Cir. 2005)(quoting

Abdur’Rahman, 392 F.3d at 181). In comparison, “‘[w]hen the motion’s factual predicate

deals primarily with the constitutionality of the underlying . . . conviction or sentence,’ the

motion should be treated as a second or successive [habeas] petition.” Id.

      In this case, Petitioner’s claim for relief in his pending motion is based on a “factual

predicate [that] deals primarily with the constitutionality of [his] underlying conviction or

sentence.” Petitioner asks the Court to vacate its previous denial of his § 2255 motion based

on intervening Supreme Court law that renders his sentence unconstitutional. Specifically,

Petitioner contends that the Supreme Court’s decisions in Apprendi v. New Jersey, 530 U.S.

266, 120 S. Ct. 2348 (2000), Blakely v. Washington, 542 U.S. ___, 124 S. Ct. 2531 (2004),

and United States v. Booker, ___ U.S. ___, 125 S. Ct. 738 (2005), render his sentence

unconstitutional as “the Court increased his Offense Level computation by twenty (20) points

to a total of forty (40) points based completely on ‘judge made findings of fact.’” (Mot. at

16). The Court therefore treats Petitioner’s pending motion as a second or successive habeas

petition.

      As a result, the Court concludes that it lacks jurisdiction to consider Petitioner’s

                                              4
  Case 2:95-cr-81146-PJD ECF No. 705, PageID.318 Filed 07/08/05 Page 5 of 5




requested relief and that his motion must be transferred to the Sixth Circuit pursuant to 28

U.S.C. § 1631. See 28 U.S.C. §§ 2244(d)(3) & 2255 and Rule 9 of the Rules Governing

Section 2255 Proceedings (requiring a petitioner to obtain authorization from the court of

appeals before a second or successive habeas application can be filed in the district court);

In re Sims, 111 F.3d 45, 47 (6th Cir. 1997) (stating that a district court must transfer a second

or successive petition to the court of appeals pursuant to 28 U.S.C. § 1631).

     Accordingly,

     IT IS ORDERED that the Clerk of the Court SHALL TRANSFER Petitioner’s

motion to the United States Court of Appeals for the Sixth Circuit pursuant to 28 U.S.C. §

1631.




                                            s/PATRICK J. DUGGAN
                                            UNITED STATES DISTRICT JUDGE

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